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     WESLEY M. MULLEN                                                    MULLEN P.C.
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                                                                              March 6, 2025

     Hon. Andrew L. Carter
     United States District Court
     Southern District of New York
     40 Foley Square, Room 435
     New York, NY 10007

     VIA CM/ECF AND EMAIL (PER INDIVIDUAL RULE 1.A)

             Re:     SVOTHI, Inc. v. Dark Alley Media LLC et ano., 25 CV 0333 (ALC)

     Your Honor:

     I am counsel to the Plaintiff. I write jointly with counsel for the Defendants, and
     pursuant to the Court’s Order dated February 19, 2025 (ECF Doc. 33), to provide a
     joint status report.

     The parties have not settled the case.

     The parties have not agreed jointly to request referral to mediation at this time.

     The Defendants’ proposal to implead or join additional parties remains unresolved.
     However, Defendants have agreed to furnish drafts of any new or amended pleadings
     to Plaintiff on or before March 14, 2025. Plaintiff has agreed to inform Defendants on
     or before March 21, 2025, whether Plaintiff opposes the filing of the proposed new or
     amended pleadings without leave. If Plaintiff opposes, the parties jointly propose the
     following briefing schedule:

                     Defendants’ motion for leave:           April 8, 2025

                     Plaintiff’s opposition:                 April 22, 2025

                     Defendants’ reply:                      April 29, 2025

     We thank the Court for its attention.

     Respectfully submitted,


     Wesley M. Mullen

      cc:    ALCarterNYSDChambers@nysd.uscourts.gov (per Rule 1.A)
             All counsel of record




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